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                                       ATTACHMENT B


                                      Properly to he seized

       1.     All documents and records relating to violations of 18 U.S.C. § 793,

involving REALITY LEIGH WINNER and occurring after January I, 2013, including:

              a.      Classified material;

              b.      Any U.S. Government material:

              c.      Contacts, by any means, with foreign governments, foreign powers, or

       agents of foreign powers;

              d.      Contacts, by any means, w iih media outlets:

              e.      Information, including communications in any form, regarding the

       retrieval, storage, or transmission ofsensitive or classified material;

              f.      Records of travel, including calendars, travel tickets, receipts, and

       photographs;

              g.      Information regarding tradecraft. how to obtain or deliver sensitive

      information, and/or how to avoid or evade detection by intelligence officials or law

      enforcement authorities;

              h.      Financial records, including bank statements, account information and

      records of any financial transaction;

              i.      Information relevant to a motive for the offense, such as anti-government

      statements, propaganda, research, and solicitations or offers to engage in anti-government

      or unlawful activities.

      2.      Computers or storage media used as a means to commit the violations described
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above.

         3.      For any computer or storage medium whose seizure is otherwise authorized by

this warrant, and any computer or storage medium that contains or in which is stored records or

information that is otherwise called for by this warrant (hereinafter,"COMPU TKR'"):

              a. evidence of who used, owned, or controlled the COMPUTER at the time the

                 things described in this warrant were created, edited, or deleted, such as logs,

                 registry entries, configuration files, saved usernamcs and passwords, documents,

                  browsing history, user profiles, email, email contacts, "chat," instant messaging

                 logs, photographs, and correspondeneei

              b. evidenee ofsoftware that would allow others to control the COMPUTER,such as

                  viruses, Trojan horses, and other forms of malicious software, as well as evidence

                 ofthe presence or absence ofsecurity software designed to detect malicious

                 software;

              c. evidence of the lack ofsuch malicious software:

              d. evidence indicating how and when the computer was accessed or used to

                 determine the chronological context ofcomputer access, use. and events relating

                 to crime under investigation and to the computer user;

              e. evidence indicating the computer user's state of mind as it relates to the crime under

                 investigation;

              f. evidence of the attachment to the COMPUTER of other storage devices or similar

                 containers for electronic evidence;
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             g. evidence of counter-forensic programs(and associated data) that are designed to

                  eliminate data from the COMPUTER;



             h. evidence of the times the COMPUTER was used:

             i.   passwords, encryption keys, and other access devices that may be necessary to

                  access the COMPUTER;

             j. documentation and manuals that may be necessary to access the COMPUTER or

                  to conduct a forensic examination of the COMPUTER;

             k. records of or information about Internet Protocol addresses used by the

                  COMPUTER;

             I. records of or information about the COMPUTER'S Internet activity, including

                  firewall logs, caches, browser history and cookies,"bookmarked" or "favorite"

                  web pages, search terms that the user entered into any Internet search engine, and

                  records of user-typed web addresses;

             m. contextual information necessary to understand the evidence described in this

                  attachment.


        4.        Routers, modems, and network equipment used to connect computers to the

Internet.


        As used above, the terms "records" and "information" includes all forms of creation or

storage, including any form ofcomputer or electronic storage (such as hard disks or other media

that can store data); any handmade form (such as writing); any mechanical form (such as printing

or typing): and any photographic form (such as microfilm, microfiche, prints, slides, negatives.
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videotapes, motion pictures, or photocopies).

        The term "documents" means records, notes, letters, correspondence, forms, financial

records, checks, ledgers, accounting papers, computer printouts, saved e-mail, information on

computer hard drives and disks, computer input and output reports, and writings, and any other

item of any type that conveys information.

       The term "computer" includes all types of electronic, magnetic, optical, electrochemical,

or other high speed data processing devices performing logical, arithmetic, or storage functions,

including desktop computers, notebook computers, mobile phones, tablets, server computers, and

ne^vork hardware.


        The term "storage medium" includes any physical object upon which computer data can

be recorded. Examples include hard disks, RAM, lloppy disks, flash memory, CD-ROMs, and

other magnetic or optical media.
